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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

v.

Criminal No. 23-350 (CKK)

RUBEN REYNA,
Defendant.

ORDER
(June 20, 2024)

On January 12, 2024, Defendant Ruben Reyna (“Defendant” or “Mr. Reyna”) entered a
plea of guilty to one count of Entering and Remaining in a Restricted Building or Grounds, in
violation of 18 U.S.C. §1752(a)(1). On June 14, 2024, Defendant was sentenced by this Court to
fourteen days of incarceration followed by twelve months of supervised release. The Court granted
defense counsel’s request to hold off on filing the Judgment to permit Defendant until June 18,
2024, to provide a suggested report date for Mr. Reyna. This delay was for the purpose of allowing
Mr. Reyna to work with his employer to try to arrange time off so that he could serve his 14-day
sentence and retain his job afterwards.

Defendant, through counsel, has now requested until Monday, June 24, 2024, to file a
memorandum asking that the Court recall the case for sentencing and a modification of Mr.
Reyna’s sentence. Defendant indicates that the Government does not oppose his request to file a
memorandum, but it does not concur in a request for any modification. This Court notes that
Defendant had ample eppoxeuniiyy to address all iesues related to sentencing during the sentencing,
and as such, the Court does not consent to any modification of Defendant’s sentence that involves

a sentence other than fourteen days of incarceration and twelve months of supervised release.

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The Court notes: additionally that it has been informed that the Bureau of Prisons is not
accommodating requests for intermittent sentences or weekend sentences. Accordingly, while
Defendant’s request to file a memorandum on Monday, June 24, 2024, is GRANTED, such

memorandum shall indicate a suggested reporting date for Mr. Reyna.

CM Lgl Vb

COLLEEN KOLLAR-KOTELLY
UNITED STATES DISTRICT JUDGE
